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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                        Case No.:1:07cr18-SPM

BROOKE ERIN THOMSON,

           Defendant.
_____________________________/

            ORDER GRANTING MOTION TO CONTINUE SENTENCING

      This cause comes before the Court on the “Brooke Erin Thomson’s Third

Motion to Continue Sentencing” (doc. 215). As grounds, Defendant states that

she would like to continue her cooperation with the Government. This

cooperation may include testifying at the trial of a co-defendant that begins on

June 2, 2008. The Government does not oppose the granting of this motion to

continue.

      Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

      1.       The Defendant’s motion to continue (doc. 215) is hereby granted.

      2.       Sentencing is reset for Friday, June 6, 2008 at 2:00 p.m. in

               Gainesville, Florida.

      DONE AND ORDERED this second day of June, 2008.




                                         s/ Stephan P. Mickle
                                       Stephan P. Mickle
                                       United States District Judge
